Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 1 of 28 PAGEID #: 1



                                      IN THE UNITED ST ATES DISTRICT COURT
                                       FOR THE SOUTHERN DISTRICT OF OHIO
                                              _ _ _ _ _ DIVISION




                                      vs.

        State of Ohio         Cardinal Health Hospital           State of North Carolina

        (Enter above the name of the Defendant in this Action)

        If there are additional Defendants, please list them:
        City of Columbus                                                                       2:25CV7i~8
                                                                                                . ~.-~
        Aron Terry

        Deidra Webster
                                                                                               lUDSt MORRISON
        Jessica Terry
                                                                                                   MAGISTRATEJUDGE DEAVERS
            Mark Yarboro
                                                             COMPLAINT



       I.    Parties to the action:

             Plaintiff:    Place your name and address on the lines below. The address you give must be the address where
                           the court may contact you and mail documents to you. A telephone number is required.

                            Eddie Van Oliver Ill
                           Name - Full Name Please - PRINT
                           2302 Middlehurst Dr.
                           Street Address
                            Columbus, Ohio 43219
                           City, State and Zip Code
                           6149534085                 3802659340
                           Telephone Number

             If there are additional Plaintiffs in this suit, a separate piece of paper should be attached immediately behind this
             page with their full names, addresses and telephone numbers. If there are no other Plaintiffs, continue with this
             form.
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 2 of 28 PAGEID #: 2



             Defcndant(s):

             Place the name and address of each Defendant you listed in the caption on the first page of this Complaint. This
             fom1 is invalid unless each Defendant appears with full address for proper service.
                  State of Ohio Cardinal Health Hospital
             1.
                  Name - Full Name Please
                  City of Columbus
                  Address: Street, City, State and Zip Code
                   Aron Terry (Who stated he was a Chaplin)
             2.
                  Deidra Webster

                   Jessica Terry
             3.
                  State of North Carolina

             4.




             5.



             6.




                  If there are additional Defendants, please list their names and addresses on a separate sheet of paper.


       II.   Subject Matter Jurisdiction

             Check the box or boxes that describes your lawsuit:

             D    Title 28 U.S.C. § 1343(3)
                       [A civi l rights lawsuit alleging that Defendant(s) acting under color of State law, deprived you of a
                       right secured by federal law or the Constitution.]

             D    Title 28 U.S.C. § 1331
                       [A lawsuit "arising under the Constitution, laws, or treaties of the United States."]

             D    Title 28 U.S.C. § 1332(a)( l )
                       [A lawsuit between citizens of different states where the matter in controversy exceeds $75,000. ]

             ~    Titlelti.    United States Code, Section ~ ~ '360a               I
                       [Other federal status giving the court subj ect matter jurisdiction.]




                                                                     -2-
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 3 of 28 PAGEID #: 3

        lll. Statement of Claim

            Please write as briefly as possible the facts of your case. Describe how each Defendant is involved. Include the
            name of all persons involved, give dates and places.

            Number each claim separately. Use as much space as you need. You are not limited to the papers we give you .
            Attach extra sheets that deal with your statement claim immediately behind this piece of paper.

             The State Police did not execute the law on the scene of the fraudulent marriage

            Mike Dewine, Governor of the State of Ohio provided an executive order that suggest as follows

             A State of emergency is declared for the entire state to protect the well-being of the citizens of the Ohio

            From the dangerous effects of Covid-19, to justify the authorization of personnel of State departments

            and agencies as are necessary, to coordinate the State response to Covid-19, and assist in
           protecting the lives, safety, and health of the citizens of Ohio.

           After consultation with the appropriate medical experts, the Department of Health shall create and

            require the use of diagnostic and treatment guidelines and provide those guidelines to health care

            providers, institutions and providers.

            The Local Police did not execute the law on the scene of the fraudulent marriage.

             City of Columbus Legislation Report File Number: 1821-2020. The title suggest to require, bars

            night clubs, and restaurants in the city of Columbus to limit times of operation for onsite consumption
            of food, beer, wine and liquor to reduce and prevent the spread of Covid-19 through airborne and

             respiratory droplet transmissions; and to declare and emergency.Whereas, on March 12,2020,

            Former Ohio Department of health Director Amy Action signed and order prohibiting mass gatherings

            In the State of Ohio; Whereas, On March 13, 2020, President Donald J . Trump declared a

            National Emergency, invoking the Stafford Act and allowing the Federal emergency Management

           Agency to coordinate disaster response and aid state and local governments in addressing

           The Covid-19 Pandemic.

             Mark Yarboro Marriage frauded Kim Yarboro and left her in North Carolina. He knew that is

              was from North Carolina. However, sufficient evidence was shown that Mark Yarboro cheated

              on Kim Yarboro. There was a letter that was found I am unaware of where the woman is at this specified

             There was a letter that suggested that Mark Yarboro cheated on her and that she was

              devastated from what he did .
             Trina Watkins and Kim Yarboro have had private conversations. It was mentioned that "she knew


                                                                -3-
                 how to hide bodies".       This statement was made after I was malpractice and after my body was burned.

                The burning of my body was in the district of the fraternity Omega Psi Phi.            There was purple district lights
                That showed within the radius of Fairfax County in Virginia. This is the same Fraternity of Mark Yarboro.
               The Pentagon has mentioned that there is an active UAP (Unidentified Anomalous Phenomenon).
              This is relevant to the biblical names Joshua Oliver, Mark Yarboro, and Marucs (who is my younger cousin)

               If there is a body of a woman that was romantic with Mark found, it may be within that county or in Norfolk.
                As of now I cannot concur that there is of such . There has been no evidence of one found due to the
                 Marriage fraud that took place in Virginia . Trina Watkin may have had a concealed weapon , and now it
                 Kirsten Hilliard may have one. It is unclear whether or not it belongs originally to Kim Yarboro or not.

                 The concealed weapon that was revealed is a black glock. I reviewed the pistols and cannot concur as
                 such .
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 4 of 28 PAGEID #: 4

        IV. Previous lawsuits:

            If you have been a Plaintiff in a lawsuit, for each lawsuit state the case number and caption .
            (Example, Case Number: 2:08-cv-728 and Caption: John Smith vs. Jane Doe).

            Case Number                                   Caption
    CASE NO.1 :23-cv-00010-PAG                 Eddie Van Oliver Ill            vs . David Huffman
                                       -------------
     2:24-cv-00267-SDM-EPD                   Eddie Van Oliver Ill     State of Ohio
                                       _ _ _ _ _ _ _ _ _ _ _ _ _ vs. _ _ _ _ _ _ _ _ _ _ _ __
      2:23-cv-04268-EAS-EPD              Eddie Van Oliver Ill         State of Ohio Housing Department
                                       _ _ _ _ _ _ _ _ _ _ _ _ _ vs. _ _ _ _ _ _ _ _ _ _ _ __
        2:23-cv-0427-ALM-KAJ                                                         State of Virginia
                                              Eddie Van Oliver Ill

        V. Relief

            In this section please state (write) bri efl y exactly what you want the court to do for you. Make no legal
            argument. cite no case or statutes.
             Request for wavier for the city fine those those victims of fraud .

             Joshua Oliver Damages needs to be returned to him - $250,000

             Defamation - Best Man Eddie Van Oliver Ill who did not attend Physically after serving his country.

             He did attended virtually.

            Eddie Van Oliver Ill said No, to having the marriage due to Covid-19 at that specified time- $350,000

            Covid-19 Endangerment for the attendees- $250,000

            United Nations Address regarding marriage in Covid-19

            Bankruptcy Assistance for Joshua Oliver

             Personal Injury for Joshua Oliver and Family

               Embezzlement Relief due to the Oliver last name .

               Jessica Terry- Detox Center and counseling

               Deidra Webster- Detox Center and marriage counseling

              Joshua Oliver- Detox Center Counseling




            I state under penalty of perjury that the foregoing is true and correct. Executed on

            t h i s ~ day of _ _ __ _ _ _ _ _ _~ 20~
                                  11
                                                                        .

            Eddie Van Oliver Ill
            Signature of Plaintiff




                                                                  -4-
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 5 of 28 PAGEID #: 5



                                       IN THE UNITED ST ATES DISTRICT COURT
                                        FOR THE SOUTHERN DISTRICT OF OHIO
                                               _ _ _ _ _ DIVISION

            Eddie Van Oliver Ill             Joshua Oliver
       (Enter Above the Name of the Plaintiff in this Action)



                                       vs.
            City of Columbus, Deidra Webster , Aron Terry , Jessica Terry
       (Enter above the name of the Defendant in this Action)

       If there are additional Defendants, please list them :

        State of North Carolina

            State of Ohio

            Mark Yarboro




                                                              COMPLAINT



       I.     Parties to the action:

              Plaintiff:    Place your name and address on the lines below. The address you give must be the address where
                            the court may contact you and mail documents to you. A telephone number is required.

                              Eddie Van Oliver Ill
                            Name - Full Name Please - PRINT

                             2302 Middlehurst Dr.
                            Street Address

                            Columbus. Ohio 43219
                            City, State and Zip Code

                             6149534085                3802659340
                            Telephone Number

              If there are additional Plaintiffs in this suit, a separate piece of paper should be attached immediately behind this
              page with their full names, addresses and telephone numbers. lfthere are no other Plaintiffs, continue with this
              fom1.
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 6 of 28 PAGEID #: 6



              Defendant(s):

              Place the name and address of each Defendant you listed in the caption on the first page of this Complaint. This
              form is invalid unless each Defendant appears with full address for proper service.

              J.   Deidra Webster     City of Columbus and Aron Terry Jessica Terry
                   Name - Full Name Please
                     Address denied
                   Address: Street, City, State and Zip Code

              2.      State of North Carolina



                     State of Ohio
              3.




              4.     Mark Yarboro



              5.




              6.




                   If there arc additional Defendants, please list their names and addresses on a separate sheet of paper.


        II.   Subject Matter Jurisdiction

              Check the box or boxes that describes your lawsuit:

              □    Title 28 U.S.C. § 1343(3)
                        [A civil rights lawsuit alleging that Dcfendant(s) act ing under color of State law, deprived you of a
                        right secured by federa l law or the Constitution.]

              □    Title 28 U.S.C. § 1331
                        [A lawsuit "arising under the Constitution, laws, or treaties of the United States."]

              □    Title 28 U.S.C. § I 332(a)(I)
                        [A lawsuit between citizens of different states where the matter in controversy exceeds $75,000.]

              !XI Title   llinitcd States Code, Section         '35oa  I
                       [Other federal status givi ng the court subject matter jurisdiction.]




                                                                     -2-
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 7 of 28 PAGEID #: 7

        m. Statement of Claim
           Please write as briefly as possible the facts of your case. Describe how each Defendant is involved. Include the
           name of all persons involved , give dates and places.

           Number each claim separately. Use as much space as you need. You are not limited to the papers we give you.
           Attach extra sheets that deal with your statement claim immediately behind this piece of paper.
                                  Served
          I Eddie Van Oliver Ill SeO£er my country in 2018- 2019 and was sabotage with lnvega and NHM .

           Joshua Oliver is my brother he decided to marry her as a virgin. Deidra Webster was not a chaste virgin.

           We know that her previous lovers were in and out of her life. It was mentioned and confirmed that

            they had dated at particular time.

            In the photos it showed that Deidra Webster was not willing to reduce weight or wear appropriate dress .

           We have several photos of the marriage attendees. They were damaged due to Covid-19 in

            2020. In our family several losses took place in this Covid-19 season. These Americans arrived

            out of there homes to see a fraudulent marriage.

             Since then Joshua Oliver and Deidra Webster have had children and a new house.

            Joshua Oliver is owed child support from he father and so am I. This request has been sent to the

            Inspector General for child support evasion .

            My mother was divorced, my father was divorced, my aunt(s) who have served were divorced.

             My mother is married in a falsified marriage that results to a man who has stolen valor from our country.

             Everyday my mother is in stolen valor with Lawerence Hairston place her life in danger.

            J/J/jj suspect a potential divorce to take place with my brother and that it is eminent.


            The supposed Chaplin suggested that I would be the one to date her daugther. My brother
            Ended up sleeping with her either before or after they got married . This is serve damage

            to our relationship. I have also applied to be a Chaplin and I have not heard anything back from

           the Federal Government.

            I am a whistleblower of the United States Government. Ever since I have blown the whistle
                                                                                 rew
           It has been a catastrophe for me personal after serving. Wether this~ my family affairs

           or not. The Chaplin's name is Aron Terry he is one that I was mentored by in the Biblical Scholastic Studies.

           I have been approved to biblical studies at a graduate here in Ohio. 1have been going th rough

           Psychological warfare I am down street from a Korean Shop or what was and in a Clintonville fungal unit.




                                                               -3-
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 8 of 28 PAGEID #: 8

         IV. Previous lawsuits:

             If you have been a Plain tiff in a lawsui t, for each lawsuit state the case number and caption.
             (Example, Case Number: 2:08-cv-728 and Caption: John Smith vs. Jane Doe).

             Case Number                                    Caption
                                                                         David Huffman
   CASE NO. 1 :23-cv-00010-PAG              Eddie Van Oliver Ill
                                         - - - - - - - - - - - - - vs. - - - - - - - - - - - - -
     2:24-cv-00267-SDM-EPD                  Eddie Van Oliver Ill
                                         _____________                   State of Ohio
                                                                   VS. ____________            _
                                            Eddie Van Oliver Ill         State of Ohio Housing Department
      2:23-cv-04268-EAS-EPD
                                         - - - - - - - - - - - - - vs. - - - - - - - - - - - - -
      2:23-cv-0427-ALM-KAJ                     Eddie Van Oliver Ill                      State of Virginia

         V. Relief

             In this section please state (write) briefly exactly what you want the court to do for you. Make no legal
             argument, cite no case or statutes.
             Joshua Oliver Damages needs to be returned to him - $250,000                  Fourth Degree Fraud - $150,000

            Defamation - Best Man Eddie Van Oliver Ill who did not attend after serving his country.
             He suggested no to having the marriage due to Covid-19 at that specified time- $350,000

              Covid-19 Endangerment for the attendees- $250,000

              United Nations Address regard ing Marriage in Covid-19 if feasible

               Bankruptcy Assistan ce for my Brother Joshua Oliver.




             I state under penalty of perjury that the foregoing is true and correct. Executed on
                    01                  29
             this _ _ _   day of _ _ ____ _ _ _ _ _, 20 ~.


             Eddie Van Oliver 111
             Signature of Pla intiff



                                                                    -4-
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 9 of 28 PAGEID #: 9




                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF OHIO
                                        _ _ _ _ _ _ DIVISION


 Eddie Van Oliver Ill Joshua Michael Oliver
(Enter Above the Name of the Plaintiff in this Action)



                                vs.

      State of Ohio         Cardinal Health Hospital         State Of North Carolina
(Enter above the name of the Defendant in this Action)

If there are additional Defendants, please list them:
     City of Columbus

      Aron Terry

      Deidra Webster

      Jessica Terry

      Mark Yarboro
                                                        COMPLAINT



I.     Parties to the action:

       Plaintiff:    Place your name and address on the lines below. The address you give must be the address where
                     the court may contact you and mail documents to you. A telephone number is required .


                      Eddie Van Oliver Ill
                     Name - Full Name Please - PRINT
                      2302 Middlehurst Dr.
                     Street Address
                       Columbus, Ohio 43219
                     City, State and Zip Code
                       3802659340
                     Telephone Number

       If there are additional Plaintiffs in this suit, a separate piece of paper should be attached immediately behind this
       page with their full names, addresses and telephone numbers. lfthere are no other Plaintiffs, continue with this
       form .
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 10 of 28 PAGEID #: 10




     Defendant( s):

     Place the name and address of each Defendant you listed in the caption on the first page of this Complaint. This
     form is invalid unless each Defendant appears with full address for proper service.

     1.     State Of Ohio Cardinal Health Hospital State of North Carolina
           Name - Full Name Please
             City of Columbus
           Address: Street, City, State and Zip Code
            Aron Terry (Who stated he was a Chaplin)
     2.

            Jessica Terry

     3.       Deidra Webster

              Mark Yarboro

     4.



     5.



     6.



           If there are additional Defendants, please list their names and addresses on a separate sheet of paper.


 II . Subject Matter Jurisdiction

     Check the box or boxes that describes your lawsuit:

     □     Title 28 U.S.C. § 1343(3)
                [A civil rights lawsuit alleging that Defendant(s) acting under color of State law, deprived you of a
                right secured by federal law or the Constitution.]

     □     Title 28 U.S.C. § 1331
                [A lawsuit "arising under the Constitution, laws, or treaties of the United States."]

     □     Title 28 U.S.C. § 1332(a)(l)
                [A lawsuit between citizens of different states where the matter in controversy exceeds $75,000.]

     Ix]   Title g1 lunited States Code, Section ~
                [Other federal status giving the court subject matter jurisdiction.]




                                                             -2-
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 11 of 28 PAGEID #: 11


 III. Statement of Claim

     Please write as briefly as possible the facts of your case. Describe how each Defendant is involved. Include the
     name of all persons involved, give dates and places.

     Number each claim separately. Use as much space as you need. You are not limited to the papers we give you.
     Attach extra sheets that deal with your statement claim immediately behind this piece of paper.




     Mark Yarboro is the man of Kim Yarboro current house. I arrived when I was 16 years old to
     officially stay there and go to high school. It was not long afterward that Mark Yarboro left the

     house. We were obligated to clean walls and to perform chores .

      I was also working a the 610 car wash where there debree or gonk from the vehicle rim .

      This is relevant due to the fact that later my skin was torched, at a third-degree burn in a Dominos.
      The Dominos is relevant to Mark Yarboro and Kim Yarboro relationship.

        I have several financial aid loans in Virgina. And I need work in Virginia to pay them back

       However, that was not possible when Kim Yarboro moved to North Carolina .

       Marcus Yarboro also suffered from the moved he has no friend that he free with out there
      but the women from Kim Yarboro network of friends.

       The chorus relevant Mark Yarboro had a motorcycle, and later on I was called cultist

      By my brother's "wife" for an in-game comic book name Hellsing in a video game.

       I never was a cultist leader. In fact I have been in the bus stations with quakers and have

       11 years of Protestant church.FMBZ is Mark Yarboro Fraternity brother's family church.

     (First Mount Zion Baptist).

      In Virginia I was sold out to a cult from someone of the church . I have spoke against cultist religions and faiths

     Once that UAP attacks have been occurring, so I have not the sued the church.

      We suspect that Cocaine maybe involved. It was reported that a family member or family friend

       had a missing vehicle . After the missing vehicle I attended the marriage virtually

       And my vehicle was destroyed.          The officer sgt Joshua Moser then got sued by a

      Jeffery Payne. Jeffery Payne then pleaded guilty for Cocaine . Trina Watkin mother nickname

      T-Pain, and had an illegal substance after Deidra webster exchange phone numbers.

      St Pauls was where I went to school and it is near border of North Carolina. There were drug dealers

      at the school, and it closed down . We have request for Kim Yarboro to move from North Carolina.

                                                         -3-
    Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 12 of 28 PAGEID #: 12


     IV. Previous lawsuits:

         If you have been a Plaintiff in a lawsuit, for each lawsuit state the case number and caption.
         (Example, Case Number: 2:08-cv-728 and Caption: John Smith vs. Jane Doe).

         Case Number                                   Caption
      Case NO. 1:3
                                    Eddie Van Oliver Ill            David Huffman
      -cv-00010-PAG                 -------------vs.-------------
2:24-cv-00267-SDM-EPD                Eddie Van Oliver Ill
                                                                   State of Ohio
                                    -------------vs.-------------
2:24-cv-04268-EAS-EPD                Eddie Van Oliver Ill         State of Ohio Housing Deparment
                                    _ _ _ _ _ _ _ _ _ _ _ _ _ vs.
 2 :23-cv-0427-ALM-KAJ                                                             State of Virginia
                                        Eddie Van Oliver Ill

     V. Relief

         In this section please state (write) briefly exactly what you want the court to do for you . Make no legal
         argument, cite no case or statutes.

           Mark Yarboro- Counseling

            Kim Yarboro- Counseling

           Marcus Yarboro Housing in Virginia - That is where is was born.
           Stolen identity theft investigation for both Marcus Yarboro and Eddie Van Oliver Ill

          Student Loan Relief- For Virginia State University I was racially slurred on campus by Jonathan Young




         I state under penalty of perjury that the foregoing is true and correct. Executed on

         this~ day of _ _ _ _2_9_ _ _ _ _ _ , 20 ~ -



         Signature of Plaintiff



                                                               -4-
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 13 of 28 PAGEID #: 13




                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF OHIO
                                         _ _ _ _ _ _ DIVISION

        Eddie Van Oliver Ill           Joshua Michael Oliver

 (Enter Above the Name of the Plaintiff in this Action)



                                 vs.
     State of Ohio Cardinal Health Hospital State of North Carolina
 (Enter above the name of the Defendant in this Action)

 If there are additional Defendants, please list them:
      City of Columbus

       Aron Terry

       Deidra Webster

      Jessica Terry

      Mark Yarboro
                                                         COMPLAINT



I.     Parties to the action :

       Plaintiff:     Place your name and address on the lines below. The address you give must be the address where
                      the court may contact you and mail documents to you. A telephone number is required.


                         Eddie Van Oliver Ill
                      Name - Full Name Please - PRINT
                        2302 Middlehurst Dr.
                      Street Address
                        Columbus, Ohio, 43219
                      City, State and Zip Code
                         3802659340
                      Telephone Number

       If there are additional Plaintiffs in this suit, a separate piece of paper should be attached immediately behind this
       page with their full names, addresses and telephone numbers. If there are no other Plaintiffs, continue with this
       form.
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 14 of 28 PAGEID #: 14




       Defendant( s):

       Place the name and address of each Defendant you listed in the caption on the first page of this Complaint. This
       form is invalid unless each Defendant appears with full address for proper service.
            State of Ohio Cardinal Health Hospital
       1.
            Name - Full Name Please


            Address: Street, City, State and Zip Code

       2.      Aron Terry (who stated he was a Chaplin)

               Deidra Webster

       3.     Jessica Terry

             North Carolina

       4.       Mark Yaroboro



       5.



       6.



            If there are additional Defendants, please list their names and addresses on a separate sheet of paper.


 II.   Subject Matter Jurisdiction

       Check the box or boxes that describes your lawsuit:

       □    Title 28 U.S.C. § 1343(3)
                 [A civil rights lawsuit alleging that Defendant(s) acting under color of State law, deprived you of a
                 right secured by federal law or the Constitution.]

       □    Title 28 U .S.C. § 1331
                 [A lawsuit "arising under the Constitution, laws, or treaties of the United States."]

       □    Title 28 U.S.C. § 1332(a)(l)
                 [A lawsuit between citizens of different states where the matter in controversy exceeds $75,000.]

       [x   Title _[]_ United States Code, Section _~     __
                 [Other federal status giving the court subject matter jurisdiction.]




                                                              -2-
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 15 of 28 PAGEID #: 15


 III. Statement of Claim

     Please write as briefly as possible the facts of your case. Describe how each Defendant is involved. Include the
     name of all persons involved, give dates and places.

     Number each claim separately. Use as much space as you need. You are not limited to the papers we give you .
     Attach extra sheets that deal with your statement claim immediately behind this piece of paper.

      Continued

       Deidra Webster -

     I found De idra Webster having 2 gallons of Peroxide in he r basement.

       Before her children were born. We suspect she did not have enough money
        To prosper the way she would like to and communicated w ith Eddie Van Oliver Jr.

       AKA Bo Diddley. I suspect that this all resulted to the drug Methamphetamine.

      We do not know how many manufactured work orders were made .

        Jessica Terry-

      We suspect that she has also smoke Methamphetamine and or Cocaine.

       She has a Piper with her and her brother Rob Terry has given in to porn acting .

        There were two cases that have been instigated one pertaining to West Virginia

        The other case in Alabama.

        I can concur that the drug activity is sufficient enough for many Americans to victims

         of this high crime .

         Deidra Webster- Is a Conspirator and needs ot be arrested for a high crime.

         She is using the Webster cases against her husband Joshua Oliver.

          She claims to have worked for Cardinal Health.

         Mark Yarboro - Is aware that Marcus Yarboro was born with a lack of Oxygen and has

          not spoken about the situation that is occurring in North Carolina. It has been addressed to

          CIA, FBI, Pentagon , and Marine Investigation.

      Prudence Oliver- Goes to see Kim Yarboro her daughter and she was also in danger.

      She has went to visit Kim Yarboro in North Carolina.




                                                         -3-
       Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 16 of 28 PAGEID #: 16


        IV. Previous lawsuits:

            If you have been a Plaintiff in a lawsuit, for each lawsuit state the case number and caption.
            (Example, Case Number: 2:08-cv-728 and Caption : John Smith vs . Jane Doe).

            Case Number                                   Caption
                                                                                     David Huffman
CASE NO. 1:23-cv-00010-PAG                _Eddie
                                           ___   Van
                                                  __ Oliver
                                                      _ _Ill_ _ _ _ vs . _ _ _ _ _ _ _ _ _ _ __
 2:24-cv-00267-SDM-EPD                      Eddie Van Oliver Ill                     State of Ohio
                                          _ _ _ _ _ _ _ _ _ _ _ _ vs. _ _ _ _ _ _ _ _ _ _ __
                                            Eddie Van Oliver Ill
 2 :23-cv-04268-EAS-E PD                  _ _ _ _ _ _ _ _ _ _ _ _ vs.                State of Ohio Housing Department
                                            Eddie Van Oliver Ill                     State of Virginia
  2 :23-cv-0427-ALM-KAJ

        V. Relief

            In this section please state (write) briefly exactly what you want the court to do for you . Make no legal
            argument, cite no case or statutes.
               DEA involvement

               Divorcement of Deidra Webster and Joshua Oliver

               Drug Counseling for the Defendant Party.

                Kim Yarboro Report to - Quantico regarding the following

               Marcus Yarboro lack of Oxygen.

               Marcus Yarboro in North Carolina.

             Marcus Yarboro- Should be relieved from North Carolina.

               Personal Injury - Eddie Van Oliver Ill

               Personal Injury - North Carolina Endangerment Ian Pereira

               (Served in the Marine Core and last name maybe misspelled. Neo Nazi are perusing).

              Personal Injury - North Carolina Endangerment Joshua Oliver
              Marcus Yarboro- North Carolina Personal Injury

               Personal Injury- North Carolina Prudence Oliver

               Personal Injury- Joshua Gregory may have been injured in personal Injury


            I state under penalty of perjury that the foregoing is true and correct. Executed on

            this~dayof               13                       ,20~.


          d                  ,. G 3J-},s..
            Signature of Plaintiff




                                                                  -4-
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 17 of 28 PAGEID #: 17



                                           IN THE UNITED ST A TES DISTRICT COURT
                                            FOR THE SOUTHERN DISTRICT OF OHIO
                                                   _ _ _ _ _ _ DIVISION

              Eddie Van Oliver Ill              Joshua Michael Oliver

         (Enter Above the Name of the Plaintiff in this Action)



                                          vs.
                                         Cardinal Health Hospital
          State Of Ohio
         (Enter above the name of the Defendant in this Action)

         If there are additional Defendants, please list them:
         City of Columbus

         Aron Terry

        Deidra Webster

        Jessica Terry

          Mark Yarboro        i
                                                                 COMPLAINT
              North Carolina      i
         I.     Parties to the action:

                Plaintiff:    Place your name and address on the lines below. The address you give must be the address where
                              the court may contact you and mail documents to you. A telephone number is required.

                                  Eddie Van Oliver Ill
                              Name - Full Name Please - PRINT
                              2302 Middlehurst Dr.
                              Street Address

                               Columbus, Ohio 43219
                              City, State and Zip Code
                               6149534085              380-265-9340 updated in pacer.
                              Telephone Number

                If there are additional Plaintiffs in this suit, a separate piece of paper should be attached immediately behind this
                page with their full names, addresses and telephone numbers. If there are no other Plaintiffs, continue with this
                form.
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 18 of 28 PAGEID #: 18



              Defendant(s):

              Place the name and address of each Defendant you listed in the caption on the first page of this Complaint. This
              form is invalid unless each Defendant appears with full address for proper serv ice.
                     State Of Ohio          Cardinal Health Hospital
               I.
                     Name - Full Name Please

                     City of Columbus
                     Address: Street, City, State and Zip Code

              2 _ Aron Terry
                     Deidra Webster

                     Jessica Terry
              3.
                     Mark Yarboro      I
              4.        North Carolina     I

              5.



              6.




                     If there arc additional Defendants, please list their names and addresses on a separate sheet of paper.


         IL   Subject Matter Jurisdiction

              Check the box or boxes that describes your lawsuit:

              □      Title 28 U.S.C. § 1343(3)
                          [A civil rights lawsuit alleging that Defendant(s) acting under color of State law , deprived you ofa
                          right secured by federal law or the Constitution.]

              □      Title 28 U.S.C. § 1331
                          [A lawsuit "arising under the Constitution, laws, or treaties of the United States."]

              □      Title 28 U.S.C. § 1332(a)(l)
                          [A lawsuit between citizens of different states where the matter in controversy exceeds $75,000.]

              .IKl   Title ~ n i t c d States Code, Section ~]60a            !
                          [Other federal status giving the court subject matter jurisdiction.]




                                                                       -2-
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 19 of 28 PAGEID #: 19

         III. Statement of Claim

             Please write as briefly as possible the facts of your case. Describe how each Defendant is involved. Include the
             name of all persons involved, give dates and places.

             Number each claim separately. Use as much space as you need. You are not limited to the papers we give you.
             Attach extra sheets that deal with your statement claim immediately behind this piece of paper.


            Continued Statement Of Claim

             Aron Terry has suggested that is a legal Chaplin. Aron Terry agreed to become the marriage counselor.

             He decided to marry Joshua Oliver to Deidra Webster. He knew that Deidra was previously involved with his son.

             His sons nickname is Rob . Deidra Webster was not a Virgin . Joshua Oliver was a virgin .

              So he allows Deidra Webster to robbed of his virginity and his marriage.

             Aron Terry agreed to the endangerment of marrying Deidra Webster.

              Joshua Oliver was malpractice when he was younger regarding his mental state.

             The State of Ohio never assist him the damages of the mistake suggesting he was ADHD.

             Deidra Webster work(s) or worked at Cardinal Health Hospital. She used he full faith of her health expertise

             To convince everyone that attended that it was legal and safe to arrive.

              Deidra Webster shows the fraud attempt to the people with a off white dress.

              The dress colludes the people that attended that she appears to be a virgin .

              I believe she turns her face away from the groom and then get married to him.

              1believe that afterwards she displays that she is in fact a Christian.

              Deidra spoke to me prior to the wedding suggesting that she would like to have the wedding.

             I told her no and she had it anyway with what I believe to be a a new best man .

             I believe that the marriage fraud is a attempt to prove that my brother is ADHD .

              I believe she is violating health practices and suggesting to volunteer.

             Diedra Webster also pulled out a big loan prior to Joshua Oliver obtaining his Bachelor of Science

              Deiadra Webster allowed Joshua Oliver to have sexual relations with Jessica Terry

              This was prior to or after the there marriage. Jessica Terry is a woman I dated previously, and related to

              Aron Terry.She most recently graduated from a Big Ten College Ohio State University.

             I have not sued Jessica Terry for romance fraud but I suspect it. This is a defilement of the name Joshua

             and is a public offense to the Christian communities (Jewish , Islamic, Catholic Faith , and Protestant Faith)
              I also have a friend whom I went to school with Joshua Gregory. I see this as possible defamation to his name.
             and defamation to me as the best man. Deidra Webster suggested she was on speed drug along time ago.

                                                             -3-
        There is a connection to the case pertaining to my father and this one . My father admitted that he spoke her.
        This is prior to the Peroxide at the bottom of her basement. Trina Watkins Mother smoked an illegal substance
        and had Deidra Websters phone number prior to living in Ohio. There is a DEA report on the incident that took
        place at her house. There was enough Peroxide to poison fish at a lake. She openly admitted she was addicted to
        speed . My father also mentioned that he had a dog named speed when he was younger. I do not know the
        ingredient to speed. AS of now we are unsure whether or not the peroxide was for a cocaine operation or speed
        drug operation .
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 20 of 28 PAGEID #: 20

         IV. Previous lawsuits:

             If you have been a Plaintiff in a lawsuit, for each lawsui t state the case number and caption.
             (Example, Case Number: 2:08-cv-728 and Caption: John Smith vs. Jane Doe).

             Case Number                                   Caption
                                                Eddie Van Oliver Ill                    State of Ohio Housing Department
         2:23-cv-4268-EAS-EPD            _ _ _ _ _ _ _ _ _ _ _ __ vs . _ _ _ _ _ _ _ _ _ _ _ __

           2:23-cv-04267-ALM-KAJ _ _E_d_d_ie_V_a_n_O_liv_e_r_l_ll_ _ _ vs. _s_t_at_e_o_f_V_i_rg_in_ia_ _ _ __

             2:24-cv-00267-SMD-EPD Eddie Van Oliver Ill
                                _____________                State of Ohio
                                                        vs. ____________   _
           1:23 CV 10                           Eddie Van Oliver Ill                      David Huffman

         V. Relief

             In this section please state (write) briefly exactly what you want the court to do for you. Make no legal
             argument, cite no case or statutes.
             Joshua Oliver Education paid for

             Divorcement for fraudulent marriage and embezzlement attempt.

              City of Columbus Covid-19 Waiver for family and plaintiff at time of incident.

                Protection orders and affordable housing for Josuha and Children . He has to leave that house.

              Request for an investigation as to why Trina Watkins Delibrately ignoreed Eddie Van Oliver Ill

               When he said not to take the phone number of Deidra Webster.




             I state under penalty of perjury that the forego ing is true and correct. Executed on

             this _ _ _ day of _____ _____~ 20~.
                    02            13


              Eddie Van Oliver Ill
             Signature of Plaintiff




                                                                   -4-
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 21 of 28 PAGEID #: 21



                                            IN THE UNITED ST ATES DISTRICT COURT
                                             FOR THE SOUTHERN DISTRICT OF OHIO
                                                    _ _ _ _ _ _ DIVISION

              Eddie Van Oliver Ill               Joshua Michael Oliver

         (Enter Above the Name of the Plaintiff in this Action)



                                           vs.
                                          Cardinal Health Hospital
          State Of Ohio
         (Enter above the name of the Defendant in this Action)

         If there are additional Defendants, please list them:
         City of Columbus

         Aron Terry

         Deidra Webster

         Jessica Terry

          Mark Yarboro         I
                                                                  COMPLAINT
              North Carolina       I
         I.      Parties to the action:

                 Plaintiff:    Place your name and address on the lines below. The address you give must be the address where
                               the court may contact you and mail documents to you. A telephone number is required.

                                Eddie Van Oliver Ill
                               Name - Full Name Please - PRINT
                               2302 Middlehurst Dr.
                               Street Address

                               Columbus, Ohio 43219
                               City, State and Zip Code
                                6149534085              380-265-9340 updated in pacer.
                               Telephone Number

                If there are additional Plaintiffs in this suit, a separate piece of paper should be attached immediately behind this
                page with their full names, addresses and telephone numbers. If there are no other Plaintiffs, continue with this
                form.
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 22 of 28 PAGEID #: 22



               Defendant(s):

               Place the name and address of each Defendant you listed in the caption on the first page of this Complaint. This
               form is invalid unless each Defendant appears with full address for proper service.
                     State Of Ohio          Cardinal Health Hospital
               I.
                     Name - Full Name Please
                     City of Columbus
                     Address: Street, City, State and Zip Code

               2_ Aron Terry
                      Deidra Webster

                     Jessica Terry
               3.
                     Mark Yarboro I

               4.       North Carolina     I

               5.




               6.



                     If there are additional Defendants, please list their names and addresses on a separate sheet of paper.


         II.   Subject Matter Jurisdiction

               Check the box or boxes that describes your lawsuit:

               □     Title 28 U.S.C. § 1343(3)
                          [A civil rights lawsuit alleging that Defendant(s) acting under color of State law, deprived you of a
                          right secured by federal law or the Constitution.]

               □     Title 28 U.S.C. § 1331
                          [A lawsuit "arising under the Constitution, laws, or treaties of the United States."]

               □     Title 28 U.S.C. § 1332(a)(l)
                          [A lawsuit between citizens of different states where the matter in controversy exceeds $75,000.]
                                                                 403
               l&l   Title ffi[)Jnited States Code, Section          j360a I
                          [Other federal status giving the court subject matter jurisdiction.]




                                                                       -2-
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 23 of 28 PAGEID #: 23

         III. Statement of Claim

             Please write as briefly as possible the facts of your case. Describe how each Defendant is involved. Include the
             name of all persons involved, give dates and places.

             Number each claim separately. Use as much space as you need. You are not limited to the papers we give you.
             Attach extra sheets that deal with your statement claim immediately behind this piece of paper.


            Continued Statement Of Claim

             Aron Terry has suggested that is a legal Chaplin. Aron Terry agreed to become the marriage counselor.

             He decided to marry Joshua Oliver to Deidra Webster. He knew that Deidra was previously involved with his son.

             His sons nickname is Rob. Deidra Webster was not a Virgin . Joshua Oliver was a virgin .

              So he allows Deidra Webster to robbed of his virginity and his marriage.

             Aron Terry agreed to the endangerment of marrying Deidra Webster.

              Joshua Oliver was malpractice when he was younger regarding his mental state.

             The State of Ohio never assist him the damages of the mistake suggesting he was ADHD .

             Deidra Webster work(s) or worked at Cardinal Health Hospital. She used he full faith of her health expertise

             To convince everyone that attended that it was legal and safe to arrive.

              Deidra Webster shows the fraud attempt to the people with a off white dress.

              The dress colludes the people that attended that she appears to be a virgin .

              I believe she turns her face away from the groom and then get married to him.

              I believe that afterwards she displays that she is in fact a Christian.

              Deidra spoke to me prior to the wedding suggesting that she would like to have the wedding.

             I told her no and she had it anyway with what I believe to be a a new best man.

             I believe that the marriage fraud is a attempt to prove that my brother is ADHD .

              I believe she is violating health practices and suggesting to volunteer.

             Diedra Webster also pulled out a big loan prior to Joshua Oliver obtaining his Bachelor of Science

              Deiadra Webster allowed Joshua Oliver to have sexual relations with Jessica Terry

             This was prior to or after the there marriage. Jessica Terry is a woman I dated previously, and related to

              Aron Terry.She most recently graduated from a Big Ten College Ohio State University.

             I have not sued Jessica Terry for romance fraud but I suspect it. This is a defilement of the name Joshua

             and is a public offense to the Christian communities (Jewish, Islamic, Catholic Faith , and Protestant Faith)
             I also have a friend whom I went to school with Joshua Gregory. I see this as possible defamation to his name.
             and defamation to me as the best man. Deidra Webster suggested she was on speed drug along time ago.

                                                             -3-
        There is a connection to the case pertaining to my father and this one . My father admitted that he spoke her.
        This is prior to the Peroxide at the bottom of her basement. Trina Watkins Mother smoked an illegal substance
        and had Deidra Websters phone number prior to living in Ohio. There is a DEA report on the incident that took
        place at her house. There was enough Peroxide to poison fish at a lake. She openly admitted she was addicted to
        speed . My father also mentioned that he had a dog named speed when he was younger. I do not know the
        ingredient to speed. AS of now we are unsure whether or not the peroxide was for a cocaine operation or speed
        drug operation .
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 24 of 28 PAGEID #: 24

         IV. Previous lawsuits:

             If you have been a Plaintiff in a lawsuit, for each lawsuit state the case number and caption.
             (Example, Case Number: 2:08-cv-728 and Caption: John Smith vs. Jane Doe).

             Case Number                             Caption
                                             Eddie Van Oliver Ill       State of Ohio Housing Department
          2:23-cv-4268-EAS-EPD          _ _ _ _ _ _ _ _ _ _ _ _ _ vs. _ _ _ _ _ _ _ _ _ _ _ __

           2:23-cv-04267-ALM-KAJ _ _E_d_d_ie_V_a_n_O_liv_e_r_l_ll_ _ _ vs. _s_ta_t_e_o_f_V_ir_g_in_ia_ _ _ __

             2:24-cv-00267-SMD-EPD Eddie
                                ____ _ _Van
                                         _ _Oliver
                                             ___   Ill _ _ vs. _State
                                                                 _ _of_Ohio
                                                                       _ _ _ _ _ _ _ __
          1 :23 CV 10                           Eddie Van Oliver Ill                     David Huffman

         V. Relief

             In this section please state (write) briefly exactly what you want the court to do for you. Make no legal
             argument, cite no case or statutes.
              Joshua Oliver Education paid for

             Divorcement for fraudulent marriage and embezzlement attempt.

              City of Columbus Covid-19 Waiver for family and plaintiff at time of incident.

                Protection orders and affordable housing for Josuha and Children . He has to leave that house.

              Request for an investigation as to why Trina Watkins Delibrately ignoreed Eddie Van Oliver Ill

               When he said not to take the phone number of Deidra Webster.




             I state under penalty of perjury that the foregoing is true and correct. Executed on

             this _ _ _ day of _ _ __ _ _ _ _ _ _~ 20~.
                    02              13


              Eddie Van Oliver Ill
             Signature of Plaintiff



                                                                   -4-
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 25 of 28 PAGEID #: 25




                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF OHIO
                                        _ _ _ _ _ _ DIVISION

        Eddie Van Oliver Ill          Joshua Michael Oliver

 (Enter Above the Name of the Plaintiff in this Action)



                                vs.
  State of Ohio Cardinal Health Hospital State of North Carolina
 (Enter above the name of the Defendant in this Action)

 If there are additional Defendants, please list them:
      City of Columbus

       Aron Terry

      Deidra Webster

      Jessica Terry

      Mark Yarboro
                                                         COMPLAINT



 I.    Parties to the action:

       Plaintiff:    Place your name and address on the lines below. The address you give must be the address where
                     the court may contact you and mail documents to you. A telephone number is required .


                        Eddie Van Oliver Ill
                     Name - Full Name Please - PRINT
                        2302 Middlehurst Dr.
                     Street Address
                        Columbus, Ohio, 43219
                     City, State and Zip Code
                         3802659340
                     Telephone Number

       If there are additional Plaintiffs in this suit, a separate piece of paper should be attached immediately behind this
       page with their full names, addresses and telephone numbers. If there are no other Plaintiffs, continue with this
       form .
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 26 of 28 PAGEID #: 26




     Defendant( s):

     Place the name and address of each Defendant you listed in the caption on the first page of this Complaint. This
     form is invalid unless each Defendant appears with full address for proper service.
          State of Ohio Cardinal Health Hospital
     1.
          Name - Full Name Please


          Address: Street, City, State and Zip Code

     2.      Aron Terry (who stated he was a Chaplin)

             Deidra Webster

     3.     Jessica Terry

           North Carolina

     4.       Mark Yaroboro



     5.



     6.



          If there are additional Defendants, please list their names and addresses on a separate sheet of paper.


 II . Subject Matter Jurisdiction

     Check the box or boxes that describes your lawsuit:

     □    Title 28 U.S.C. § 1343(3)
               [A civil rights lawsuit alleging that Defendant(s) acting under color of State law, deprived you of a
               right secured by federal law or the Constitution.]

     □    Title 28 U.S.C. § 1331
               [A lawsuit "arising under the Constitution, laws, or treaties of the United States."]

     □    Title 28 U.S .C. § 1332(a)(l)
               [A lawsuit between citizens of different states where the matter in controversy exceeds $75,000.]

     [x   TitleQ       United States Code, Section ~
               [Other federal status giving the court subject matter jurisdiction.]




                                                            -2-
Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 27 of 28 PAGEID #: 27

 III. Statement of Claim

     Please write as briefly as possible the facts of your case. Describe how each Defendant is involved. Include the
     name of all persons involved, give dates and places.

     Number each claim separately. Use as much space as you need. You are not limited to the papers we give you.
     Attach extra sheets that deal with your statement claim immediately behind this piece of paper.

      Continued

       Deidra Webster -

     I found Deidra Webster having 2 gallons of Peroxide in her basement.

       Before her children were born . We suspect she did not have enough money
       To prosper the way she would like to and communicated with Eddie Van Oliver Jr.

       AKA Bo Diddley . I suspect that this all resulted to the drug Methamphetamine.

      We do not know how many manufactured work orders were made .

        Jessica Terry-

      We suspect that she has also smoke Methamphetamine and or Cocaine .

       She has a Piper with her and her brother Rob Terry has given in to porn acting.

        There were two cases that have been instigated one pertaining to West Virginia

        The other case in Alabama .

        I can concur that the drug activity is sufficient enough for many Americans to victims

         of this high crime.

         Deidra Webster- Is a Conspirator and needs ot be arrested for a high crime.

         She is using the Webster cases against her husband Joshua Oliver.

          She claims to have worked for Cardinal Health.

         Mark Yarboro - Is aware that Marcus Yarboro was born with a lack of Oxygen and has

          not spoken about the situation that is occurring in North Carolina. It has been addressed to

          CIA, FBI, Pentagon, and Marine Investigation.

      Prudence Oliver- Goes to see Kim Yarboro her daughter and she was also in danger.

      She has went to visit Kim Yarboro in North Carolina .




                                                         -3-
      Case: 2:25-cv-00748-SDM-EPD Doc #: 1 Filed: 07/07/25 Page: 28 of 28 PAGEID #: 28


        IV. Previous lawsuits:

            If you have been a Plaintiff in a lawsuit, for each lawsuit state the case number and caption.
            (Example, Case Number: 2:08-cv-728 and Caption: John Smith vs. Jane Doe).

            Case Number                                   Caption
                                                                                     David Huffman
CASE NO. 1 :23-cv-00010-PAG            _Eddie
                                        ___   Van
                                               __ Oliver
                                                   _ _ Ill
                                                         _ _ _ _ vs. _ _ _ _ _ _ _ _ _ _ __

 2 :24-cv-00267-SDM-EPD                    Eddie Van Oliver Ill      State of_Ohio
                                       _ _ _ _ _ _ _ _ _ _ _ _ vs. _ _ __      _ _ _ _ _ __
                                           Eddie Van Oliver Ill
 2 :23-cv-04268-EAS-EPD                _ _ _ _ _ _ _ _ _ _ _ _ vs.                   State of Ohio Housing Department
                                          Eddie Van Oliver Ill                       State of Virginia
  2 :23-cv-0427 -ALM-KAJ

        V. Relief

            In this section please state (write) briefly exactly what you want the court to do for you. Make no legal
            argument, cite no case or statutes.
               DEA involvement

                   Divorcement of Deidra Webster and Joshua Oliver

               Drug Counseling for the Defendant Party.

                   Kim Yarboro Report to - Quantico regarding the following

               Marcus Yarboro lack of Oxygen.

               Marcus Yarboro in North Carolina.

             Marcus Yarboro- Should be relieved from North Carolina .

               Personal Injury - Eddie Van Oliver Ill

               Personal Injury - North Carolina Endangerment Ian Pereira

               (Served in the Marine Core and last name maybe misspelled. Neo Nazi are perusing).

              Personal Injury - North Carolina Endangerment Joshua Oliver
               Marcus Yarboro- North Carolina Personal Injury

               Personal Injury- North Carolina Prudence Oliver

                   Personal Injury- Joshua Gregory may have been injured in personal Injury


            I state under penalty of perjury that the foregoing is true and correct. Executed on

            this     01 day of __1_3_ _ _ _ _ _ _ _, 20~.



            Signature of Plaintiff




                                                                 -4-
